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                                   3                                  UNITED STATES DISTRICT COURT

                                   4                              NORTHERN DISTRICT OF CALIFORNIA

                                   5                                          SAN JOSE DIVISION

                                   6

                                   7     VLSI TECHNOLOGY LLC,                                 Case No. 17-cv-05671-BLF
                                   8                     Plaintiff,
                                                                                              ORDER VACATING TRIAL DATE
                                   9              v.

                                  10     INTEL CORPORATION,
                                  11                     Defendant.

                                  12
Northern District of California
 United States District Court




                                  13          The Court conducted a status conference on February 20, 2024 with all counsel present.
                                  14   Based on the discussion on the record, the Court understands that VLSI will file a motion to
                                  15   dismiss Intel’s license counterclaim on February 23, 2024. Briefing on that motion will be
                                  16   completed by March 8, 2024. Due to the anticipated dispositive issues that will be presented by
                                  17   VLSI, the Court concludes that continuing trial preparation before the pleadings are set is
                                  18   imprudent and potentially wasteful.
                                  19          The Court VACATES the trial date, final pretrial conference date, and all corresponding
                                  20   pretrial deadlines. The Court will reset the trial date and pretrial deadlines, if necessary, after
                                  21   ruling on VLSI’s motion to dismiss Intel’s counterclaim. Additionally, VLSI’s Motion to Vacate
                                  22   and Reset Trial Date Once Pleadings Are Closed, ECF No. 859, is terminated without prejudice as
                                  23   moot. If this case proceeds, the Court will reset trial on an expedited basis.
                                  24          IT IS SO ORDERED.
                                  25

                                  26   Dated: February 20, 2024
                                  27                                                     ______________________________________
                                                                                         BETH LABSON FREEMAN
                                  28                                                     United States District Judge
